                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION


UNITED STATES OF AMERICA                    )
                                            )
                                            )
v.                                          )       No. 3:16-mj-01055-2
                                            )       Judge Trauger
STORMY WHITTEMORE                           )


                                            ORDER

        The government’s Emergency Motion to Review Release Order (Docket No. 23) is

GRANTED. An evidentiary review hearing will be held on Thursday, July 21, 2016 at 9:30 a.m.

        It is so ORDERED.

        ENTER this 19th day of July 2016.



                                                    ________________________________
                                                    ALETA A. TRAUGER
                                                    U.S. District Judge




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